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   A TTORNEYS AT L A W




                                                     IN THE UNITED STATES DISTRICT COURT
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                             13                       CENTRAL DISTRICT OF CALIFORNIA
                             14                               LOS ANGELES DIVISION
                             15   UNITED STATES OF AMERICA,                   Case No.: 2:20-cv-08466-DSF-PLA
                             16                                               Hon. Dale S. Fischer
                                        Plaintiff,
                             17    v.                                         CLAIMANT PETROSAUDI OIL
                                                                              SERVICES (VENEZUELA)
                             18                                               LTD.’S RESPONSE IN
                                  ALL FUNDS HELD IN ESCROW BY                 OPPOSITION TO THE UNITED
                             19   CLYDE & CO. (OR SUCCESSOR                   STATES’S RENEWED EX PARTE
                                                                              APPLICATION FOR ISSUANCE
                             20   INSTITUTION) IN THE UNITED                  OF ARREST WARRANT IN REM
                                  KINGDOM AS DAMAGES OR
                             21   RESTITUTION IN PETROSAUDI v.
                             22   PDVSA UNCITRAL ARBITRATION,
                             23
                                        Defendant.
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                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
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                              1                                     INTRODUCTION
                              2         The Court dismissed the government’s first amended complaint on March 9,
                              3   2021. It also recalled the arrest warrant in rem and granted leave for the government
                              4   to file a second amended complaint (“SAC”) by March 29, 2021. ECF No. 52. The
                              5   government filed its SAC, ECF No. 53, on March 29, 2021, and filed a Renewed Ex
                              6   Parte Application for Issuance of Warrant for Arrest In Rem on the following day.
                              7   ECF No. 54 (the “Application”). Upon motion, ECF No. 55, the Court granted
                              8   Claimant’s request to set a briefing schedule on the Application on April 8, 2021,
                              9   ordering Claimant to respond to the government’s ex parte Application by April 19,
                             10   2021 (the same day on which Claimant’s response to the SAC is due) and the
                             11   government to respond by April 26, 2021.1 ECF No. 58.
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                             12         The Court should deny the Application as it lacks subject matter jurisdiction.
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                             13   It is axiomatic that “[a] federal court cannot issue warrants in furtherance of
                             14   proceedings over which there is no federal subject matter jurisdiction.” In re
                             15   Seizure of Approx. 28 Grams of Marijuana, 278 F. Supp. 2d 1097, 1107 (N.D. Cal.
                             16   2003). Here, the Court lacks subject matter jurisdiction for four reasons: (1) the
                             17   Court lacks enforcement jurisdiction to issue a compulsory order requiring seizure
                             18   of a res2 that is possessed and controlled by a non-party foreign court; (2) even if
                             19   the Court issues such a compulsory order, it cannot be executed against the foreign
                             20   court, which is “immune from the jurisdiction of the courts of the United States”
                             21   pursuant to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1604; (3)
                             22
                             23   1
                                    Claimant’s response to the SAC—a motion to dismiss—is of course being filed
                             24   separately and concurrently with this Response.
                                  2
                                    The SAC defines the res as “all funds held in escrow by Clyde & Co. in the United
                             25   Kingdom as damages or restitution in the UNCITRAL arbitration between PetroSaudi Oil
                             26   Services (Venezuela) Ltd. and PDVSA Servicios S.A. et al. . . . ” SAC ¶ 2; ECF No. 53-1.
                                  The government specifically “brings this action against the aforementioned funds . . .
                             27   whether these funds are held in escrow by Clyde & Co. or held in some other account
                                  controlled by a UK court.” Id. Attachment A of the SAC states that the res has a “value of
                             28
                                  approximately $329 million as of March 2021.” Id. at Att. A.
                                                                              1
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   even if sovereign immunity does not apply, the government cannot establish a
                              2   “substantial likelihood” of redressability because its requested seizure of the res
                              3   depends upon the discretion of the UK court, a third party not before or within
                              4   control of the Court, which has exclusive possession and control over the res; and
                              5   (4) mandatory application of the Prior Exclusive Jurisdiction Doctrine (“PEJ”)
                              6   deprives the Court of jurisdiction.
                              7   I.    THE COURT’S ENFORCEMENT JURISDICTION DOES NOT
                              8         EXTEND TO A RES POSSESSED AND CONTROLLED BY A
                              9         FOREIGN COURT
                             10         The government’s Application seeks the issuance of an arrest warrant in rem
                             11   and consequent seizure thereof by federal officials. See Proposed Warrant for
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                             12   Arrest in Rem, ECF 54-1, at 2 (“YOU ARE HEREBY COMMANDED . . . to arrest
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                             13   and seize the Defendant Assets.”). The res to be seized by federal officials is,
                             14   however, currently located in the United Kingdom and both possessed and
                             15   controlled by a British court. Specifically, on March 23, 2021—six days before the
                             16   government filed the SAC—the High Court of Justice, Business and Property
                             17   Courts of England and Wales issued a mandatory order directing that the prior
                             18   British escrow agent of the res, Clyde & Co., “shall forthwith” convert the res from
                             19   U.S. dollars to British pounds (“GBP”) “without overseas transfer of funds” and
                             20   then “immediately transfer” the res “to the Court Funds Office without any
                             21   overseas clearing or overseas transfer . . . .” See Notice of Decision, Att. A, ECF
                             22   No. 57-1 ¶ 1(a)-(b) (“March 23, 2021 Order”). The UK court also ordered that,
                             23   upon such transfer, Clyde & Co. “will cease to be the trustee and escrow manager”
                             24   of the res which “will be held by the Court Funds Office subject to the Orders
                             25   below and further Orders of this Court . . . .” Id. ¶ 3.
                             26         The government does not contest that the res is located overseas or that the
                             27   UK court entered its March 23, 2021 Order before the SAC was filed. Instead, it
                             28   asserts that “the transfer of the res will not take effect until the UK court writes up
                                                                              2
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   its decision in the coming days (meaning that Clyde & Co. still possesses the res at
                              2   present).” ECF No. 56, at 3. This is incorrect. As Claimant previously submitted,
                              3   the UK court’s order “is in effect and no other decision is necessary or expected
                              4   from the English court.” ECF No. 57, at 3. Clyde & Co. has complied with that
                              5   order and the funds are presently possessed and controlled by the UK court. See
                              6   Declaration of James Lewis QC, ¶ 4 (“Lewis Decl.”) attached hereto.
                              7         A District Court’s order to seize property located overseas—as the
                              8   Application seeks here—is an exercise of its enforcement jurisdiction. Restatement
                              9   (Fourth) of Foreign Relations Law, pt. IV, ch. 3, intro. note (2018) (“Jurisdiction to
                             10   enforce concerns the authority of a state to exercise its power or compel compliance
                             11   with the law. Common examples include . . . the seizure of property.”) (internal
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                             12   citation omitted) (“Restatement”); id. at § 431 (“Courts in the United States have
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                             13   understood enforcement jurisdiction to encompass compelling compliance with law
                             14   through the use of force and the performance of other coercive governmental
                             15   functions. Examples include . . . the seizure of property.”). See also Fed. Trade
                             16   Comm’n v. Compagnie de Saint-Gobain-Pont-a-Mousson, 636 F.2d 1300, 1316
                             17   (D.C. Cir. 1980) (subpoena duces tecum invokes court’s enforcement jurisdiction).
                             18         As the D.C. Circuit noted in Saint-Gobain, “enforcement jurisdiction by and
                             19   large continues to be strictly territorial,” id., and the Restatement reflects this rule:
                             20   “Both U.S. practice and customary international law distinguish between
                             21   enforcement in a state’s own territory, which is unproblematic, and enforcement in
                             22   the territory of another state, which requires the consent of that other state.”
                             23   Restatement, supra, pt. IV, ch. 3, intro. note (2018). Thus, “[t]he United States
                             24   generally exercises jurisdiction to enforce within the territory of the other states
                             25   only with the consent of the other states.” Id. at § 431 cmt. b. As the Seventh
                             26   Circuit put it, “[o]nly with the permission of the foreign country in question may
                             27   the law enforcement officers of one country exercise powers in another one.”
                             28   Williams v. Wisconsin, 336 F.3d 576, 581 (7th Cir. 2003); accord The Schooner
                                                                              3
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
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                              1   Exchange v. McFaddon, 11 U.S. (7 Cranch) 116 (1812) (“The jurisdiction of the
                              2   nation within its own territory is necessarily exclusive and absolute. It is susceptible
                              3   of no limitation not imposed by itself. . . . All exceptions, therefore, to the full and
                              4   complete power of a nation within its own territories, must be traced up to the
                              5   consent of the nation itself. They can flow from no other legitimate source.”)
                              6   superseded by statute as stated in Siderman de Blake v. Republic of Argentina, 965
                              7   F.2d 699, 705 (9th Cir. 1992); Société Nationale Industrielle Aérospatiale v. Dist.
                              8   Court, 482 U.S. 522, 557 (1987) (Blackmun, J., concurring in part and dissenting in
                              9   part) (“[E]ach state has a monopoly on the exercise of governmental power within
                             10   its borders and no state may perform an act in the territory of a foreign state without
                             11   consent.”); United States v. Blanco, 861 F.2d 773, 779 (2d Cir. 1988) (“The United
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                             12   States has no right to enforce its laws in another country without the country’s
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                             13   consent or acquiescence.”).
                             14         As the Supreme Court recognized in Kiobel v. Royal Dutch Petroleum Co.,
                             15   569 U.S. 108 (2013), the principles of international comity and “unwanted judicial
                             16   interference in the conduct of foreign policy” creates a presumption that
                             17   “constrain[s] courts [from] exercising their power” of enforcement within the
                             18   territory of another sovereign unless Congress has made its intention to do so
                             19   “clear.” Id. at 116-17, 124-25. Here, however, Congress has made it abundantly
                             20   clear that it does not wish to dispense with the territoriality principle of customary
                             21   international law in forfeiture cases. Specifically, Rule G(3)(c)(iv) of the
                             22   Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture, which
                             23   addresses “Forfeiture Actions In Rem,” echoes customary international law and its
                             24   territoriality principle by declaring, “[i]f executing a warrant on property outside
                             25   the United States is required, the warrant may be transmitted to an appropriate
                             26   authority for serving process where the property is located.”3 Supp. R. G(3)(c)(iv).
                             27
                                  3
                                   Although Supplemental Rule G(3)(c)(iv) contains the word “may,” the Advisory
                             28
                                  Committee notes accompanying its adoption make clear that if the U.S. wishes to attempt
                                                                              4
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
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                              1   This would ordinarily require transmitting the warrant to the UK National Crime
                              2   Agency (NCA), requesting that the NCA serve the warrant on the current custodian
                              3   for the funds.
                              4          The present Application, however, seeks a warrant that, if properly executed,
                              5   seeks to seize the res not from a private party, but rather a sovereign entity—
                              6   namely, the UK court. This is a remarkably aggressive assertion of U.S.
                              7   enforcement jurisdiction and consequently, the NCA is no longer the “appropriate
                              8   authority” whose consent must be sought under Supplemental Rule G(3)(c)(iv).
                              9   Instead, as the Lewis Declaration indicates, the “appropriate authority” whose
                             10   “consent” will be necessary to comply with customary international law is the UK
                             11   court that presently possesses and controls the res. Lewis Decl. ¶¶ 7, 10, 30, 34.
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                             12          Thus, if the government wishes to assert a claim to the Defendant Funds now
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                             13   held by the UK court, it must apply to that court for an order transferring the res to
                             14   its possession and control. A U.S. court cannot, consistent with customary
                             15   international law, simply order the UK court to turn over the res, or to hold it for
                             16   the benefit of the United States. The UK court is not a party to this litigation, and
                             17
                             18
                             19   service of an arrest warrant in rem on property located outside the U.S., it must seek the
                                  cooperation of the appropriate foreign authority: “Subparagraph (iv) reflects the
                             20   uncertainty surrounding service of an arrest warrant on property not in the United States.
                             21   It is not possible to identify in the rule the appropriate authority for serving process in all
                                  other countries. Transmission of the warrant to an appropriate authority, moreover, does
                             22   not ensure that the warrant will be executed. The rule requires only that the warrant be
                                  transmitted to an appropriate authority.” Supp. R. G(3)(c)(iv), advisory committee’s note
                             23
                                  (2006) (italics added). Moreover, under the Supreme Court’s Charming Betsy canon,
                             24   “courts are bound wherever possible to construe strictly federal statutes conferring subject
                                  matter jurisdiction . . . to avoid possible conflicts with contrary principles of international
                             25   law.” Saint-Gobain, 636 F.2d at 1323; see also Murray v. The Schooner Charming Betsy,
                             26   6 U.S. (2 Cranch) 64, 118 (1804) (“[A]n act of Congress ought never to be construed to
                                  violate the law of nations if any other possible construction remains”). Pursuant to the
                             27   Charming Betsy doctrine, therefore, Supplemental Rule G(3)(c)(iv) must be construed
                                  consistent with customary international law and thus require consent of the foreign
                             28
                                  sovereign (where the res is located) to execute an arrest warrant in rem.
                                                                                 5
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   this Court does not have in personam or ancillary jurisdiction over it due to
                              2   sovereign immunity (as elaborated in Section II below). 4
                              3          If the U.S. government wishes to seize the res, therefore, it must seek the
                              4   consent of the UK court by seeking the assistance of the NCA to pursue its claim.
                              5   Indeed, there are multiple other potential claimants to this res—including other
                              6   sovereigns such as Malaysia and Switzerland—who may wish to assert claims. UK
                              7   law provides a basis for presenting such claims under the Proceeds of Crime Act
                              8   (“POCA”), which “make[s] provision to give effect to overseas requests and orders
                              9   made where property is found or believed to be obtained through criminal conduct,
                             10   and for connected purposes.” Proceeds of Crime Act, 2002, c. 29 preamble (Eng.).
                             11   See also Lewis Decl. ¶¶ 24-34.
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                             12          Thus, the Court cannot grant the present Application, thereby exercising
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                             13   subject matter jurisdiction in a manner inconsistent with customary international
                             14   law, in light of Congress’s clear intent to conform forfeiture actions thereto. Kiobel,
                             15   569 U.S. at 116-17, 124-25.
                             16   II.    SOVEREIGN IMMUNITY UNDER THE FSIA BARS EXECUTION
                             17          OF AN ARREST WARRANT IN REM AGAINST A RES POSSESSED
                             18          AND CONTROLLED BY A FOREIGN COURT
                             19          Even if the Court does have enforcement jurisdiction to issue an arrest
                             20   warrant in rem without the consent of the UK court, it nonetheless lacks subject
                             21   matter jurisdiction to do so due to sovereign immunity under the FSIA, which
                             22
                             23   4
                                    As the entity possessing and controlling the res, the UK court is likely an indispensable
                             24   party, necessitating dismissal under Federal Rule of Civil Procedure 19(b) of any
                                  proceeding affecting an interest in the res. See Republic of Philippines v. Pimentel, 553
                             25   U.S. 851, 864-67 (2008) (sovereign claiming ownership of res subject to in rem
                             26   interpleader proceeding is indispensable party; judicial seizure of property is affront to
                                  sovereign’s dignity and “[a] case may not proceed when a required-entity sovereign is not
                             27   amenable to suit” under the FSIA.”). See also CP Nat’l Corp. v. Bonneville Power
                                  Admin., 928 F.2d 905, 911-12 (9th Cir. 1991) (absence of necessary party may be raised
                             28
                                  sua sponte or by the parties “at any stage in the proceeding.”).
                                                                               6
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   declares that a “foreign state shall be immune from the jurisdiction of the courts of
                              2   the United States . . . .” 28 U.S.C. § 1604. Accord Saudi Arabia v. Nelson, 507 U.S.
                              3   349, 355 (1993) (FSIA deprives federal court of subject matter jurisdiction over any
                              4   claim against a foreign state).
                              5          The defendant in this civil forfeiture action is the res, not the UK or its court.
                              6   However, the current Application—for an arrest warrant in rem—commands U.S.
                              7   officials to seize the res, regardless of who possesses it. Because the res is in the
                              8   possession and control of the UK court, which is a vital component of the UK itself,
                              9   granting the present Application will, by definition, exercise the Court’s subject
                             10   matter jurisdiction over property possessed and controlled by a foreign sovereign.
                             11   FSIA forbids this. Indeed, when it comes to an exercise of jurisdiction over the res,
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                             12   the “real party in interest” is presently the UK court, which possesses it and controls
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                             13   its disposition. See ECF No. 57-1 ¶ 3 (March 23, 2021 Order stating that the res
                             14   “will be held by the Court Funds Office subject to the Orders below and further
                             15   orders of this Court”). While the Claimant is given permission to apply to the UK
                             16   court to vary or amend the court’s order requiring payment of ongoing business
                             17   expenses and attorneys’ fees, this does not alter the fact that all disbursements of
                             18   the res are under the exclusive control of the UK court. Id. ¶¶ 4-5.
                             19          Federal courts have consistently recognized that when a sovereign is the real
                             20   party in interest,5 the proceeding should be considered as against the sovereign
                             21   itself under the FSIA. This is true even in in personam proceedings filed against
                             22   private businesses. Specifically, if an in personam action is brought against a
                             23   private business that enters liquidation under foreign law, courts routinely conclude
                             24
                             25   5
                                    Federal Rule of Civil Procedure 17(a) requires that action “must be prosecuted in the
                             26   name of the real party in interest.” Fed. R. Civ. P. 17(a) (italics added). Rule 17(a) thus
                                  recognizes that, to have standing, the plaintiff must be the real party in interest. Rule 17(a)
                             27   does not mention defendants but, as elaborated in the text, Article III, section 2’s
                                  redressability requirement ensures that a civil proceeding is brought against a defendant
                             28
                                  capable of providing redress for plaintiff’s injuries.
                                                                                 7
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   that FSIA dismissal is required because the sovereign-appointed liquidator is an
                              2   “agency or instrumentality” of the foreign sovereign under the FSIA, 28 U.S.C. §
                              3   1603(b), and thus entitled to sovereign immunity, because the liquidator exclusively
                              4   possesses and controls the business. See, e.g., Finanz AG Zurich v. Banco
                              5   Economico S.A., 192 F.3d 240, 245 (2d Cir. 1999) (parties’ assumption that foreign
                              6   liquidator is “real party in interest” and “agency or instrumentality of a foreign
                              7   state” under FSIA is “supported by the record”); Drexel Burnham Lambert Grp.,
                              8   Inc. v. Comm. of Receivers for Galadari, 12 F.3d 317, 324 (2d Cir. 1993) (district
                              9   court correctly concluded that Dubai liquidation committee was instrumentality of
                             10   the Emirate and suit barred by sovereign immunity); Fabe v. Aneco Reins.
                             11   Underwriting Ltd., 784 F. Supp. 448, 450-51 (S.D. Ohio 1991) (suit barred under
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                             12   FSIA because Bermudan liquidator is agency or instrumentality of Bermuda under
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                             13   FSIA); Hong Kong Deposit & Guar. Co. Ltd. v. Hibdon, 602 F. Supp. 1378, 1382
                             14   (S.D.N.Y. 1985) (Hong Kong liquidator is real party in interest).
                             15         Given that the FSIA bars in personam proceedings against a private business-
                             16   defendant when it undergoes liquidation by a sovereign-appointed liquidator, the
                             17   logic is even more compelling that the FSIA bars in rem proceedings against a res-
                             18   defendant that is under the exclusive possession and control of a foreign court. The
                             19   UK court, unlike a liquidator, is not merely an “agency or instrumentality” of the
                             20   sovereign, but the sovereign itself. Like a liquidator, the UK court exclusively
                             21   possesses and controls the disposition of the defendant. Moreover, like a liquidator,
                             22   any claim asserted against the defendant must be presented to the UK court for
                             23   orderly resolution.
                             24         Indeed, in the analogous context of an in rem bankruptcy proceeding, the
                             25   Ninth Circuit and numerous other federal courts hold that a bankruptcy trustee is
                             26   the real party in interest regarding claims for or against the defendant-res
                             27   (bankruptcy estate). Turner v. Cook, 362 F.3d 1219, 1225-26 (9th Cir. 2004); In re
                             28   Eisen, 31 F.3d 1447, 1451 n.2 (9th Cir. 1994); Matter of Cmty. Home Fin. Servs.,
                                                                             8
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   Inc., 990 F.3d 422, 427 (5th Cir. 2021); Willess v. United States, 560 Fed. App’x
                              2   762, 764 (10th Cir. 2014); Davy v. Star Packaging Corp., 517 Fed. App’x 874, 876
                              3   (11th Cir. 2013); Latelle v. Autozoners LLC, No. 2:11-cv-00591, 2012 WL
                              4   1315267, at *2 (D. Nev. Mar. 27, 2012). See also Estate of Migliaccio v. Midland
                              5   Nat’l Life Ins. Co., 436 F. Supp. 2d 1095, 1100 (C.D. Cal. 2006) (trustee is real
                              6   party in interest under Federal Rule of Civil Procedure Rule 17(a)). Here, much like
                              7   a bankruptcy trustee, the UK court has taken exclusive possession and control over
                              8   the res. Tellingly, it has done so pursuant to UK’s Civil Procedure Rules, Part 64,
                              9   which governs “Claims Relating to the Administration of Estates and Trusts.” Civil
                             10   Procedure Rules, 1998, S.I. 1998/3132, Pt. 64 (U.K.). Pursuant to Practice
                             11   Direction 64A, the UK court has broad authority to oversee the administration of a
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                             12   trust, including ordering an existing trustee to “pay into court money which he
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                             13   holds in that capacity . . . .” Id. at Practice Direction 64A, ¶ 1(2)(a)(ii). That is what
                             14   the UK court did here; it ordered the then-existing trustee, Clyde & Co., to
                             15   “immediately transfer” the res into the “Court Funds Office” and declared that
                             16   “upon the transfer . . . to the Court Funds Office . . . the Defendant [Clyde & Co.]
                             17   will cease to be the trustee and escrow manager” of the res. ECF No. 57-1, ¶¶ 1(b),
                             18   3 (italics added).
                             19          Accordingly, the UK court is now the real party in interest regarding the res
                             20   and, as a sovereign entity with exclusive possession and control over the res, an
                             21   arrest warrant in rem is barred by sovereign immunity under the FSIA.
                             22   III.   THE COURT LACKS SUBJECT MATTER JURISDICTION
                             23          BECAUSE THE GOVERNMENT CANNOT CARRY ITS BURDEN
                             24          OF ESTABLISHING A “SUBSTANTIAL LIKELIHOOD” OF
                             25          REDRESSABILITY
                             26          The Court also lacks subject matter jurisdiction to grant the Application
                             27   because the government cannot carry its burden of establishing redressability, as
                             28
                                                                              9
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   required by Article III, section 2.6 Lujan v. Defenders of Wildlife, 504 U.S. 555, 561
                              2   (1992) (party invoking federal jurisdiction bears the burden of establishing standing
                              3   elements, including redressability). To establish redressability, the government
                              4   must demonstrate a “substantial likelihood” that its Application, if granted, will
                              5   provide the requested remedy. Vt. Agency of Natural Res. v. U.S. ex rel. Stevens,
                              6   529 U.S. 765, 771 (2000); Ry. Labor Execs. Ass’n v. Dole, 760 F.2d 1021, 1023
                              7   (9th Cir. 1985).
                              8         “With a finding of sovereign immunity, there is no longer a redressable
                              9   controversy . . . [as] [t]here is no injury the Court can redress.” Williams v.
                             10   Connolly, No. 17-cv-1631, 2017 WL 5479508, at *10 (D.N.J. Nov. 15, 2017);
                             11   accord Berg v. Kingdom of the Netherlands, No. 2:18-cv-3123, 2020 WL 2829757,
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                             12   at *18-19 (D.S.C. Mar. 6, 2020) (sovereign immunity as to some defendants
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                             13   precludes redressability as to other defendants who claim interest in same property);
                             14   cf. Trump v. Comm. on Ways & Means, 415 F. Supp. 3d 38, 48-49 (D.D.C. 2019)
                             15   (if congressional defendants lack immunity under Speech and Debate Clause, “the
                             16   Court could redress Mr. Trump’s harm.”).
                             17         Even if sovereign immunity does not apply, however, the government still
                             18   cannot demonstrate a “substantial likelihood” of redressability. The Supreme Court
                             19   has applied a “steady refusal to endorse standing theories that rest upon speculation
                             20   about the decisions of independent actors.’” Dep’t of Commerce v. NY, 139 S. Ct.
                             21   2551, 2566 (2019) (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414
                             22   (2013)). Establishing redressability is highly unlikely when the redress “depends on
                             23   the unfettered choices made by independent actors not before the courts and whose
                             24   exercise of broad and legitimate discretion the courts cannot presume either to
                             25   control or to predict.” ASARCO, Inc. v. Kadish, 490 U.S. 605, 615 (1989); see also
                             26   6
                                    Although this Court was not persuaded by Claimant’ prior argument that it lacked
                             27   Article III jurisdiction, circumstances in the UK have changed considerably since plaintiff
                                  filed its First Amended Complaint. As discussed above, the res is now in the possession of
                             28
                                  the UK government and under the control of a UK court.
                                                                              10
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   Levine v. Vilsack, 587 F.3d 986, 995 (9th Cir. 2009) (no redressability because
                              2   “simply impossible for court to predict” whether third party will take action
                              3   providing redressability). Thus, “[w]hen traceability and redressability depend on
                              4   the conduct of a third party not before the court, ‘standing is not precluded, but it is
                              5   ordinarily substantially more difficult to establish.’” Competitive Enter. Inst. v.
                              6   FCC, 970 F.3d 372, 381 (D.C. Cir. 2020) (quoting Lujan, 504 U.S. at 562)). In such
                              7   situations, the party invoking the court’s jurisdiction “must show that the third party
                              8   will ‘act in such manner as to produce causation and permit redressability of
                              9   injury.’” Id.
                             10          Courts are “particularly reluctant to find standing where the third party upon
                             11   whose conduct redressability depends is a foreign sovereign.” Cicero v. Mnuchin,
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                             12   857 F.3d 407, 419 (D.C. Cir. 2017). Redressability cannot be established “when the
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                             13   effectiveness of the relief requested depends on the unforeseeable actions of a
                             14   foreign nation[.]” Dellums v. U.S. Nuclear Reg. Comm’n, 863 F.2d 968, 976 (D.C.
                             15   Cir. 1988), including situations in which “the relief . . . could be obtained only
                             16   through the consent of the [foreign] government.” Cardenas v. Smith, 733 F.2d 909,
                             17   914 (D.C. Cir. 1984).
                             18          Here, the Application seeks seizure of a res that is under the possession and
                             19   control of a UK court, an independent sovereign not answerable to this Court.
                             20   British law provides a process by which claimants—including the U.S. or other
                             21   sovereigns—may pursue a claim which may (or may not) ultimately succeed. See
                             22   Lewis Decl. ¶¶ 22-34. As elaborated in Section I, under both customary
                             23   international law and Supplemental Rule G, the necessity of obtaining the UK
                             24   court’s consent to any seizure of the res by the U.S. government means that the
                             25   government cannot establish a “substantial likelihood” of redressability. The UK
                             26   court may ultimately recognize a U.S. claim to the res, but its decision cannot be
                             27   predicted or controlled by this Court. ASARCO, 490 U.S. at 615. Issuance of an
                             28   arrest warrant in rem, under these circumstances, will not provide the redress the
                                                                             11
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   government seeks, and thus would amount to little more than an advisory opinion
                              2   prohibited by Article III, section 2. Carney v. Adams, 141 S. Ct. 493, 498 (2020);
                              3   Skyline Wesleyan Church v. Cal. Dep’t of Managed Health Care, 968 F.3d 738,
                              4   746 (9th Cir. 2020).
                              5   IV.    THE PRIOR EXCLUSIVE JURISDICTION DOCTRINE APPLIES
                              6          In addition to limitations on the Court’s enforcement jurisdiction, sovereign
                              7   immunity, and a lack of constitutionally required redressability, the Prior Exclusive
                              8   Jurisdiction Doctrine also deprives the Court of jurisdiction to issue an arrest
                              9   warrant in rem. See In re Seizure of Approx. 28 Grams of Marijuana, 278 F. Supp.
                             10   2d at 1108. The PEJ provides “‘that when a court of competent jurisdiction has
                             11   obtained possession, custody or control of particular property, that possession may
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                             12   not be disturbed by any other court.’” State Engineer of Nev. v. South Fork Band of
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                             13   the Te-Moak Tribe of W. Shoshone Indians, 339 F.3d 804, 809 (9th 2003) (quoting
                             14   14 Charles Alan Wright, Arthur R. Miller, Edward H. Cooper, Federal Practice
                             15   and Procedure § 3631, at 8 (3d ed. 1998)). Application of this doctrine is
                             16   mandatory in the Ninth Circuit. Id. at 810 (PEJ “is no mere discretionary abstention
                             17   rule. Rather, it is a mandatory jurisdictional limitation.”).7
                             18          In this case, the UK court asserted its jurisdiction over the res pursuant to “its
                             19   power to administer and supervise trusts,” and ordered Clyde & Co. to convert the
                             20   funds from dollars into pounds sterling, and to deposit those monies into its own
                             21   registry. See Lewis Decl. ¶ 4. In addition, that court issued orders requiring that
                             22
                                  7
                                    Although PEJ is most often applied between federal and state courts, the doctrine applies
                             23
                                  equally when the competing court is that of a foreign sovereign. See Smagin v. Yegiazaryan,
                             24   733 Fed. App’x 393, 397 n.2 (9th Cir. 2018) (noting that the doctrine would not be applied
                                  in that case because, although a Liechtenstein court had “first asserted jurisdiction over the”
                             25   trust in question, the order at issue mandated action in respondent’s “personal capacity on
                             26   the basis of the court’s in personam jurisdiction.”); see SEC v. Banner Fund Int’l, 211 F.3d
                                  602, 611 (D.C. Cir. 2000) (“This first-in-time rule has since been applied to federal cases
                             27   as to which there were cognate proceedings in the courts of another country.”); Dailey v.
                                  Nat’l Hockey League, 987 F.2d 172, 177 (3d Cir. 1993); Chesley v. Union Carbide Corp.,
                             28
                                  927 F.2d 60 (2d Cir. 1991).
                                                                                12
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   certain payments be made from those funds. Id. ¶ 7. It has, in short, both asserted its
                              2   jurisdiction and control over the funds and their disposition. As noted above, of
                              3   course, this order was entered before the government filed the SAC, let alone before
                              4   an arrest warrant in rem was sought. As a result, the Court cannot exercise
                              5   concurrent jurisdiction over those funds, now subject to the UK court’s in rem
                              6   jurisdiction, even if the funds were present in the United States let alone under the
                              7   control of a foreign sovereign in that sovereign’s own territory.8
                              8          In Re Seizure of Approx. 28 Grams of Marijuana, is instructive here. There,
                              9   the court issued a 21 U.S.C. § 881 seizure warrant, through which the U.S.
                             10   Department of Justice took possession of the drugs (marijuana) at issue. The res
                             11   had already been seized by a California state court as evidence in a state criminal
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                             12   prosecution. After pleading to a lesser charge, the criminal defendant, who
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                             13   possessed a “medical marijuana” card, sought return of his marijuana. In the
                             14   meantime, the DEA secured its warrant, and the marijuana was surrendered by state
                             15   police authorities.
                             16          The District Court ruled that under the PEJ, it lacked jurisdiction to issue the
                             17   seizure warrant in the first place, even though there was no competing state
                             18   forfeiture action pending. It reasoned that “the state court actively asserted
                             19   jurisdiction over the seized property by adjudicating [the owner’s] motion for return
                             20   of property[,]” and thus, the officers executing the federal warrant “necessarily
                             21   contravened the orders of a state court disposing of property under its control.” Id.
                             22
                             23   8
                                    The UK proceedings are “in rem” for PEJ purposes. The March 23, 2021 Order was
                             24   issued pursuant to Practice Direction 64A-Estates, Trusts and Charities, Title 1 Claims
                                  Relating to the Administration of Estates and Trusts, para. 1(2)(a)(ii). This provision
                             25   allows the UK court to issue “an order requiring a trustee . . . to pay into court money
                             26   which he holds in that capacity.” See also Lewis Decl. ¶ 4. Matters of trust administration
                                  are in rem proceedings. See, e.g., Princess Lida of Thurn and Taxis, et al. v. Thompson,
                             27   305 U.S. 456, 466 (1939) (noting that PEJ applies both “where suits are brought to
                                  marshal assets, administer trusts, or liquidate estates, and in suits of a similar nature
                             28
                                  where, to give effect to its jurisdiction, the court must control the property.”).
                                                                              13
                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1   at 1107. This was forbidden by the PEJ. The court ruled that “[t]he lesson of Penn
                              2   General is clearly that federal courts may not interfere with state court in rem
                              3   jurisdiction by forcibly taking possession of the res. Under this principle, issuance
                              4   of a seizure warrant is no less forbidden than commencement of a forfeiture
                              5   action.” Id. at 1108.
                              6                                     CONCLUSION
                              7         For the foregoing reasons, Claimant requests that the Court deny the
                              8   Application for an arrest warrant in rem.
                              9
                             10   DATE: April 19, 2021                             Respectfully submitted,
                             11
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                                  CLAIMANT’S RESPONSE IN OPPOSITION TO RENEWED EX PARTE APPLICATION FOR ARREST
                                  WARRANT IN REM                                                  2:20-CV-08466-DSF-PLA
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                              1                             CERTIFICATE OF SERVICE
                              2   I hereby certify that a true and correct copy of the foregoing and its attachments
                              3   was electronically filed on April 19, 2021 using the CM/ECF system, thereby
                              4   sending a notice of electronic filing to all counsel of record.
                              5                                                  /s/ David B. Rivkin, Jr.
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